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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                CASE NO:
  MARK FAILS,

         Plaintiff,

         v.

  NEW BERN TRANSPORT CORPORATION,
  a foreign corporation,

         Defendant.

                                          /

              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

          Plaintiff, MARK FAILS (“Plaintiff”), pursuant to 29 U.S.C. § 216(b), files the following

  Complaint against Defendant, NEW BERN TRANSPORT CORPORATION, (“NBTC” or

  “Defendant”), and alleges as follows:

                                              INTRODUCTION

         1.      Defendant has unlawfully deprived Plaintiff of federal overtime compensation

  during the course of his employment. This is an action arising under the Fair Labor Standards Act

  (“FLSA”) pursuant to 29 U.S.C. §§ 201-216, to recover all wages owed to Plaintiff during the

  course of his employment.

                                                PARTIES

         2.      During all times material hereto, Plaintiff was a resident of Broward County,

  Florida, over the age of 18 years, and otherwise sui juris.

         3.      During all times material hereto, Defendant, NBTC, was a foreign corporation

  headquartered at 1111 Westchester Avenue, White Plains, NY 10604.
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         4.      During all times material hereto, Defendant, NBTC, transacted business throughout

  Broward and Palm Beach Counties, within the jurisdiction of this Honorable Court.

         5.      During all times material hereto, Defendant was vested with authority to hire, fire

  and reprimand its employees, and to oversee and implement pay practices.

         6.      Defendant was Plaintiff’s employer, as defined by 29 U.S.C. § 203(d), during all

  times pertinent to the allegations herein.

                                   JURISDICTION AND VENUE

         7.      Defendant hired Plaintiff to work at its warehouse located at 2121 NW 15th Ave.,

  Pompano Beach, Florida 33069, as well as throughout Broward and Palm Beach Counties.

         8.       The unlawful pay practices giving rise to this Action took place within the

  jurisdiction of this Honorable Court.

         9.      Jurisdiction is therefore proper within the Southern District of Florida pursuant to

  29 U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and 1337.

         10.     Venue is proper within the Southern District of Florida pursuant to 29 U.S.C. §

  216(b) and 28 U.S.C. § 1391(b).

         11.     This Honorable Court has supplemental jurisdiction over state law claims pursuant

  to 28 U.S.C. § 1367(a).

                                    GENERAL ALLEGATIONS

         12.     Defendant, NBTC, is an exclusive carrier of PepsiCo brand products, and provides

  transport services for such products throughout Broward and Palm Beach Counties.

                                          FLSA COVERAGE

         13.     Defendant, NBTC, is covered under the FLSA through enterprise coverage, as

  NBTC was engaged in interstate commerce during all pertinent times in which Plaintiff was




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  employed. More specifically, NBTC was engaged in interstate commerce by virtue of the fact that

  its business activities involved those to which the FLSA applies. Defendant, NBTC’s business and

  Plaintiff’s work for NBTC affected interstate commerce because the materials and goods that

  Plaintiff used on a constant and/or continuous basis moved through interstate commerce prior to

  or subsequent to Plaintiff’s use of the same.

         14.     During his employment Plaintiff and multiple other employees handled and worked

  with various goods and/or materials that have moved through interstate commerce, including, but

  not limited to the following: GPS devices, boxes, crates, packing materials, pens, notepads, papers,

  computers, cellular telephones, order forms, soda, juices, coffee beverages, plastic, cans, etc.

         15.     Defendant, NBTC, also regularly employed two (2) or more employees for the

  relevant time period, who handled the same or similar goods as those goods and materials handled

  by Plaintiff, or used the instrumentalities of interstate commerce, or the mails, thus making

  Defendant, NBTC’s business an enterprise covered by the FLSA.

         16.     Defendant, NBTC, grossed or did business in excess of $500,000.00 per year in the

  years 2018, 2019, 2020 and is expected to gross in excess of $500,000.00 in 2021.

         17.     Plaintiff was not exempt under the Motor Carrier Act (“MCA”), as Plaintiff’s

  individual transportation duties did not require him to cross state lines and therefore involve

  commerce, nor were they reasonably expected to.

         18.     Upon information and belief, Plaintiff’s individual transportation duties were not

  part of a practical continuous stream of interstate commerce because Plaintiff transported goods

  that all if not most were manufactured intrastate, and/or sat idle prior to delivery to the final

  destination.




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                            PLAINTIFF’S WORK FOR DEFENDANT

         19.     Plaintiff began working for Defendant on or about March 18, 2020 as a truck driver,

  and continued to do so until on or about June 4, 2021.

         20.     Plaintiff’s work required him to complete scheduled delivery routes throughout the

  Broward and Palm Beach Counties.

         21.     Plaintiff’s scheduled delivery routes stayed within the state of Florida.

         22.     During Plaintiff’s employment, he regularly worked over forty (40) hours per week.

         23.     When Plaintiff worked over forty (40) hours per week, his overtime wages were

  calculated under the fluctuating work week (“FWW”) method of overtime compensation.

         24.     Using the FWW method, Defendant calculated overtime wages for Plaintiff by (a)

  dividing Plaintiff’s wages for that week by the number of hours worked that week, thereby arriving

  at the hourly rate; and then (b) dividing that hourly rate in half to arrive at the amount to be paid

  per hour for any overtime work in excess of forty (40) hours per week.

         25.     However, Defendant failed to meet all requirements to utilize the FWW method to

  calculate overtime wages for Plaintiff during his employment period.

         26.     Defendant failed to pay Plaintiff a fixed salary for each week regardless of the

  number of hours he worked, as required by 29 C.F.R. § 778.114. Instead, the amount of base salary

  Plaintiff received each week varied during his employment.

         27.     Further, during his entire employment period, Defendant paid Plaintiff other forms

  of pay in addition to the weekly base salary, such as non-discretionary commissions, holiday pay,

  “extra days pay,” etc.

         28.     Indeed, until August 7, 2020, such payments were deemed by the U.S. Department

  of Labor (“DOL”) to be “incompatible with the fluctuating work week method of computing




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  overtime.” See Fluctuating Workweek Method of Computing Overtime Under 29 C.F.R. §

  778.114, 76 Fed. Reg. 18832, 18848-50 (Apr. 5, 2011).1

          29.     Therefore, Defendant failed to pay Plaintiff his properly calculated overtime wages

  for all hours of work performed in excess of forty (40) per week during his employment period.

          30.     Defendant’s actions were intentional and/or willful, and Plaintiff is therefore

  entitled to an additional amount of liquidated (double) damages for minimum wages and overtime

  wages owed.

          31.     Based upon Defendant’s intentional and/or willful violations of the FLSA, the three

  (3) year statute of limitations applies instead of the two (2) year statute of limitations.

          32.     As a result of the above violations of federal law, Plaintiff has had retain the

  undersigned counsel to prosecute these claims and is therefore entitled to an award of reasonable

  attorney’s fees and costs under the FLSA.

            COUNT I – FEDERAL OVERTIME LAW VIOLATIONS – 29 U.S.C. § 207

          33.     Plaintiff re-avers and re-alleges Paragraphs 1 through 21 above, as though fully set

  forth herein.

          34.     Defendant engaged in a pattern, policy, and practice of violating the FLSA.

          35.     Plaintiff performed work in excess of forty (40) hours per week for which was not

  paid his properly calculated overtime wages, to which he was entitled under the FLSA.

          36.     Defendant’s failure to comply with the federal overtime provisions of the FLSA

  was intentional and/or willful.




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   On May 20, 2020, the DOL released its final rule revising the “bonus rule” to allow payment of bonuses
  and additional pay, such as commissions and hazard pay, while utilizing the fluctuating workweek method.
  This went into effect on August 7, 2020, and is codified in 29 C.F.R. § 778.114.


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         37.       As a result of Defendant’s intentional and/or willful refusal to remedy its violations

  of the FLSA, Plaintiff is entitled to recover unliquidated damages, liquidated damages, court costs

  and reasonable attorney’s fees.

         WHEREFORE, Plaintiff, MARK FAILS, respectfully requests that this Honorable Court

  enter judgment in his favor and against Defendant, NEW BERN TRANSPORT CORPORATION,

  and award: (a) unliquidated damages; (b) liquidated damages; (c) reasonable attorney’s fees and

  costs; and any and all such further relief as may be deemed just and reasonable under the

  circumstances.

                   COUNT II - BREACH OF CONTRACT FOR UNPAID WAGES

         38.       Plaintiff re-avers and re-alleges Paragraphs 1 through 32 above, as though fully set

  forth herein.

         39.       Defendant promised to pay Plaintiff a fixed salary per week, regardless of the

  number of hours worked in the work week, plus commissions based on the number of cases he

  delivered.

         40.       Plaintiff agreed to work for Defendant in consideration of being paid a fixed salary

  per week, regardless of the number of hours worked in the work week, plus commissions based

  on the number of cases he delivered.

         41.       Defendant failed to pay Plaintiff a fixed salary per week regardless of the number

  of hours he worked that week.

         42.       Instead, Defendant reduced or changed Plaintiff’s base salary from week to week

  throughout his employment.




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         43.     Defendant’s failure to pay Plaintiff a fixed salary per week during one or more work

  weeks of his employment constitutes a breach of contract for which Plaintiff is owed unpaid wages

  under Florida law.

         44.     Plaintiff has incurred damages as a result of Defendant’s breach.

         45.     As a result of the violations alleged herein, Plaintiff was required to retain the

  undersigned counsel and is therefore entitled to recover reasonable attorney’s fees and costs

  pursuant to Fla. Stat. § 448.08.

         WHEREFORE, Plaintiff, MARK FAILS, respectfully requests that this Honorable Court

  enter judgment in his favor and against Defendant, NEW BERN TRANSPORT CORPORATION,

  and award Plaintiff: (a) unpaid wages: (b) all reasonable attorney’s fees and costs as permitted

  under Fla. Stat. § 448.08, and any and all such further relief that this Court may deem just and

  reasonable under the circumstances.

                                     DEMAND FOR JURY TRIAL

  Plaintiff, MARK FAILS, hereby requests and demands a trial by jury on all appropriate claims.

         Dated this 25th day of June 2021.

                                                       Respectfully Submitted,

                                                       USA EMPLOYMENT LAWYERS-
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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on this 25th

  day of June 2021.

                                                      By: /s/ Jordan Richards
                                                      JORDAN RICHARDS, ESQUIRE
                                                      Florida Bar No. 108372



                                    SERVICE LIST:




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